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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


                                                       )
 MICHAEL MCCARTHY, et al.,                             )   CIVIL ACTION NO.
                                                       )   1:20-cv-10701-DPW
                                Plaintiffs,            )
                                                       )   PLAINTIFFS’ MOTION
                -against-                              )   TO STRIKE A PORTION OF
                                                       )   THE AFFIDAVIT OF
 CHARLES D. BAKER, et al.,                             )   TERRENCE MACCORMACK
                                                       )
                                Defendants.            )
                                                       )

       COME NOW the Plaintiffs, who respectfully move the Court to strike the sentence in

paragraph 5 of the Affidavit of Terrence MacCormack (Doc. No. 69) that states, “It was my

understanding that the replacement was necessary to address a staff oversight in preparing the

revised Exhibit A posted a short while earlier.” In support of this motion, the Plaintiffs state:

       1.      On May 1, 2020, Defendants filed the Affidavit of Terrence MacCormack, in

which Mr. MacCormack attests that he posted the two versions of Exhibit A on March 31, 2020.

See Doc. No. 69 at ¶¶ 4-5. Included within this Affidavit is the statement, “It was my

understanding that the replacement was necessary to address a staff oversight in preparing the

revised Exhibit A posted a short while earlier.” Id. at ¶ 5.

       2.      Mr. McCormack’s Affidavit provides no basis for his “understanding” that the

change was necessary to address a “staff oversight.” It does not, for example, attest that Mr.

MacCormack himself made an oversight when he posted the earlier version of Exhibit A. As

such, the statement is inadmissible because it does not come from the witness’s personal

knowledge. Fed. R. Evid. 602.
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       Dated: May 4, 2020

                                          Respectfully submitted,
                                          THE PLAINTIFFS,
                                          By their attorneys,

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                                    CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non-registered participants on May 4, 2020.

                                                  /s/ David D. Jensen
                                                  David D. Jensen, Esq.


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